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BY /__Z_d D-Ov
|N THE UN|TED STATES D|STR|CT COUI§I}'ED
FOR THE wEsTERN DlsTRlcT oF TENNE%§FA@G 30 ppg L.= 59

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uNlTEo sTATEs oi= AMERicA rlit~ itiiPtiS
P|aintiff
vs.
cR. No. 04-20386-0
cHRis ANTHONY PARKs
Defendant.

 

**AMENDED** ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF
EXCLUDABLE DELAY AND SETT|NG

 

This cause was set for trial on the September, 2005 criminal rotation calendar.
Counsel for the defendant has requested a continuance of the trial date in order to allow
for additional preparation in the case.

The Court granted the request and reset the trial date to December 5, 2005 with a
i_'e_j_mrt date of **Tue§c_iav. November 22l 2005l at 9:00 a.m., in Courtroom 3, 9th F|oor
of the Federal Building, Memphis, TN.

The period from September 16, 2005 through December 16, 2005 ls excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this 30 day Of August, 2005.

 
    
 

 

B RN|CE B. NALD
|T D S TES D|STR|CT JUDGE

This document entered on the docket shea
with Fiule 55 and/or 32{b) FRCrP on

 

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Honorable Bernice Donald
US DISTRICT COURT

